AO 245D (WDNC Rev. 02/11) Judgment in a Criminal Case for Revocation




                                                UNITED STATES DISTRICT COURT
                                                          Western District of North Carolina
     UNITED STATES OF AMERICA                                            )   JUDGMENT IN A CRIMINAL CASE
                                                                         )   (For Revocation of Probation or Supervised Release)
                 V.                                                      )   (For Offenses Committed On or After November 1, 1987)

                                                                         )
     JACOB DEWAYNE WOLFE                                                 )   Case Number: DNCW211CR000005-004
                                                                         )   USM Number: 26248-058
                                                                         )
                                                                         )   Dustin Randolph Dow
                                                                         )   Defendant’s Attorney


THE DEFENDANT:
 ☒ Admitted guilt to violation of condition 1 of the term of supervision.
 ☐ Was found in violation of condition(s) count(s) after denial of guilt.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violation:
  Violation                                                                                                    Date Violation
  Number                      Nature of Violation                                                               Concluded
       1                      DRUG/ALCOHOL USE                                                                   7/13/2016


       The Defendant is sentenced as provided in pages 2 through 3 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984, United States v. Booker, 125 S.Ct. 738 (2005), and 18 U.S.C. § 3553(a).

 ☐       The Defendant has not violated condition(s) and is discharged as such to such violation(s) condition.
 ☒       Violation 2 is dismissed on the motion of the United States.

        IT IS ORDERED that the Defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay monetary penalties, the defendant shall notify the court and United States
attorney of any material change in the defendant's economic circumstances.


                                                                                  Date of Imposition of Sentence: 3/16/2017
                                                                                   Signed: March 29, 2017




                                                                                  Date: March 29, 2017




                    Case 2:11-cr-00005-MR-DLH                          Document 185       Filed 03/29/17      Page 1 of 3
AO 245D (WDNC Rev. 02/11) Judgment in a Criminal Case for Revocation



Defendant: Jacob Dewayne Wolfe                                                                             Judgment- Page 2 of 3
Case Number: DNCW211CR000005-004



                                                                       IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
NINE (9) MONTHS.

☒ The Court makes the following recommendations to the Bureau of Prisons:
         1. Participation in any available educational and vocational opportunities.
         2. Participation in the Federal Inmate Financial Responsibility Program.
         3. Participation in any available substance abuse treatment program and if eligible receive benefits of
            18:3621(e)(2).
         4. Defendant shall support all dependents from prison earnings.

☒ The Defendant is remanded to the custody of the United States Marshal.

☐ The Defendant shall surrender to the United States Marshal for this District:

            ☐ As notified by the United States Marshal.
            ☐ At on .

☐ The Defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

            ☐ As notified by the United States Marshal.
            ☐ Before 2 p.m. on .
            ☐ As notified by the Probation Office.


                                                                         RETURN

I have executed this Judgment as follows:




Defendant delivered on __________ to _______________________________________ at

________________________________________, with a certified copy of this Judgment.




                         United States Marshal
                                                                                  By:
                                                                                         Deputy Marshal




                    Case 2:11-cr-00005-MR-DLH                          Document 185     Filed 03/29/17    Page 2 of 3
AO 245D (WDNC Rev. 02/11) Judgment in a Criminal Case for Revocation



Defendant: Jacob Dewayne Wolfe                                                                            Judgment- Page 3 of 3
Case Number: DNCW211CR000005-004



                                                            CRIMINAL MONETARY PENALTIES

The defendant shall pay the following total criminal monetary penalties in accordance with the Schedule of Payments.


                   ASSESSMENT                                             FINE                         RESTITUTION
                      $0.00                                               $0.00                           $0.00


☐ The determination of restitution is deferred until. An Amended Judgment in a Criminal Case (AO 245C) will be entered
after such determination.

☒ In all other respects, the terms of the original judgment [Doc. 99] in this matter remain in full force and effect, including
the order for payment of:

            ☐ restitution, with there being a balance remaining in the amount of $ .
            ☒ court-appointed counsel fees, with there being a balance remaining in the amount of $4,212.50.
            ☐ special assessment with there being a balance remaining in the amount of $ .


                                                                          FINE

         The defendant shall pay interest on any fine or restitution of more than $2,500.00, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options
on the Schedule of Payments may be subject to penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

☐ The court has determined that the defendant does not have the ability to pay interest and it is ordered that:

☐ The interest requirement is waived.

☐ The interest requirement is modified as follows:


                                                          COURT APPOINTED COUNSEL FEES

☐ The defendant shall pay court appointed counsel fees.

☐ The defendant shall pay $0.00 towards court appointed fees.




                    Case 2:11-cr-00005-MR-DLH                          Document 185   Filed 03/29/17    Page 3 of 3
